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                           IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRTCT OF PENNSYLVANIA

UNITED STATES OF AMERICA

                  t'                                               CRIMINAL NO. I7.51

THOMAS E. HUGHSTED


                       GOVERNMENT'S CHANGE OF PLEA MEMORANDUM

I.       BACKG ROI]NI)

         on January 26,2017, the defendant Thomas E. Hughsted was indicted by a federal grand

jury   on one count    ofreceipt ofchild pomography, in violation of l8 U.S.C.   $ 2252(a)(2), one count


of distribution of child pornography, in violation of 18 U.S.C. $ 2252(a)(2), and one count of

possession of child pomography, in violation of 18 U.S.C. $ 2252(aXaXB). A notice of forfeiture

was also filed.

          pursuant to Federal Rule of Criminal Procedure I 1 , the defendant is expected to enter into

a   guilty plea agreement to all counts in the indictment.

          The defendant's agreement to plead guilty arises from the following criminal    conduct: On

May 16,2016, the defendant knowingly received child pomography, or a visual depiction which

depicted and involved the use of a minor engaged in sexually explicit conduct, which had been

transported through the Intemet. On June 14,2016, the defendant knowingly distributed child

pornography through the use of the Intemet. On November 8, 2016, the defendant knowingly

possessed a laptop and cell phones containing child pomography that had been produced using a




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computer, and at least one ofthe visual depictions involved a prepubescent minor who had not yet

auained 12 years of age. When he committed these federal offenses, the defendant had already

been convicted in 2009 in New Hampshire for the crime of Certain Use of Computer Prohibited,

in violation ofN.H. Stat.   649-8:4.   The conviction was a result of the defendant using a computer

in order to solicit a child for sex. The New Hampshire conviction constitutes a prior child sex

offense as described under 18 U.S.C' $$ 2252(bxl) and (bX2).

II.    E,SSENTIALELEMENTS

       To prove l8 U.S.C. $ 2252(a\(2) (receipt or distribution of child pomogaphy), the

govemment must prove the following elements beyond a reasonable doubt:


               (tl     the defendant knowingly received or distributed a visual depiction;

               (2)     the depiction was shipped or transported in interstate or foreign commerce
                       by any means, including the Intemet;

                (3)    producing the visual depiction involved using a minor engaged in sexually
                       explicit conduct;

                (4)    the depiction is ofa minor engaged in sexually explicit conduct; and

                (5)     the defendant knew that at least one performer in the visual depiction was a
                        minor and knew that the depiction showed the minor engaged in sexually
                        explicit conduct.

See Pattem   Crim. Jury Instr. 1 lth Cir. 83.2 (2011).




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       To prove l8 U.S.C. $ 2252(d@) (possession of child pomography)' the govemment must

prove the following elements beyond a reasonable doubt:


              (1)    That the defendant knowingly possessed computers containing visual
                     depictions of minors engaged in sexually explicit conduct;

              (2)    the production ofthe visual depictions involved the use ofa minor engaged
                     in sexually explicit conduct, and the visual depiclions was ofsuch conduct;

              (3)     at least one visual depiction involved a prepubescent minor or a minor who
                      had not attained 12 years ofage;

              (4)     that the defendant knew that the visual depictions involved the use of a
                      minor engaging in sexually explicit conducq and

              (5)     that the visual depictions had been produced using materials that had been
                      shipped or transported in interstate or foreign colnmerce by any means,
                      including by computer.

See 18 U.S.C. $ 22s2(aXa)(B); (bX2).

III.   STATUTO RY MAXIMUM SE NTENCE

       For the offense of receipt of child pornography, in violation of 18 U.S.C. S 2252(a)(2),

the maximum penalty is 40 years of incarceration, a mandatory minimum 15 year term of

incarceration, a minimum 5 year term up to a lifetime of supervised release, a $250,000 fine,

restitution, forfeiture, a $100 special assessment, and an additional special assessment of $5,000

is imposed pursuant to the Justice for Victims of Traffrcking Act, 18 U'S'C' $ 1591'

        For the offense of distribution of child pornography, in violation       of    18 U.S.C.   S


 2252(a)(2), the maximum penalty is 40 years of incarceration, a mandatory minimum l5 year term

of incarceration, a minimum 5 year term up to a lifetime of supervised release, a $250,000 fine,




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restitution, forfeiture, a $100 special assessment, and an additional special assessment of $5,000

is imposed pursuant to the Justice for Victims of Traffrcking Act, 18 U.S.C' $ 1591'

         For the offense of possession of child pornography,            l8   U.S.C' $ 2252(a)(a)(B)' the

maximum penalty is 20 years          of   incarceration, a mandatory minimum term             of   10 years of

incarceration, a minimum 5 year term up to a lifetime of supervised release, a $250'000 fine'

restitution, a $100 special assessment, and an additional special assessment of$5,000 is imposed

pursuant to the Justice for Victims of Traffrcking Act,     l8 U'S.C.   $   1591. The statutory maximum

is increased to 20 years, as opposed to l0 years, because the victims are under the age of             12.   18


u.s.c.   $ 22s2(b)(2).

         Thus, the total maximum penalty is 100 years imprisonment, a mandatory minimum term

of   15 years of incarceration, a minimum 5 year term up to lifetime                of   supervised release, a

                                                                                          under
$750,000 dollar fine, a $300 special assessment, and a $15,000 special victims assessment

the victims of Trafficking    Act.   Restitution and forfeiture may also be ordered.

         The defendant further understands that supervised release may be revoked if its terms and

conditions are violated. When supervised release is revoked, the original term of imprisonment

may be increased by up to three years on Counts One (receipt of child pomography) and Two

(distribution ofchild pomography) and up to two years for a violation ofthe terms ofCount Three

 (possession of child    pornography). Thus,    a   violation of supervised release increases the possible

 period of incarceration and makes it possible that the defendant           will   have to serve the original


 sentence, plus a substantial additional period, without credit for time already spent on
                                                                                          supervised


 release.




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        In addition, if the defendant violates supervised release by committing one or        more


specified child exploitation offenses, the Court   will revoke   supervised release and require the

defendant to serve an additional term of imprisonment of at least 5 years (1 8 U.S'C. S 3583(k)).

IV.     FACT AL BASIS             R THE      EA

        Ifthis   case were to proceed to trial, the govemment would introduce evidence in the form


of intemet service records, testimony by law enforcement witnesses, and forensic evidence to

establish that the defendant knowingly received, distributed, and possessed child
                                                                                  pornography in


the Eastem District of Pennsylvania on the dates charged in the indictment- In
                                                                               particular, the

govemment's evidence would establish the following facts:

        Law enforcement received a cyber+ip reporting the distribution ofchild pomography in an

intemet chatroom by an online user on June 14,2016. The user, defendant Hughsted. knowingly

shared a sexually explicit image depicting a pre-pubescent boy providing oral sex to
                                                                                     another


prepubescent boy (the "Image"). The children depicted in the Image are approximately 8 to           l0

years   ofage.    Hughsted shared the Image by transporting it on the Intemet. Hughsted knew that

                                                                                        showed
at least one of the performers in the Image was a minor and further knew that the Image

that minor engaged in sexually explicit conduct. Business records showed that Hughsted was

accessing the chatroom using an internet service registered in his name, Thomas
                                                                                E. Hughsted, in

 Philadelphia, PennsYlvania.

         on November 8, 2016, law enforcement executed a search warrant on the defendant's
                                                                                      in
 home located at 440 Lyceum Avenue in Philadelphia. That day, the defendant was found
                                                                                          images
 knowing possession ofa laptop and cell phones, which collectively contained at least 150



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and   3   videos depicting child pomography. The defendant's collection focused on the

victimization of prepubescent boys engaged in sexually explicit conduct' including the penetration
                                                                                       videos
ofprepubescent boys or other depictions ofviolence. The defendant knew that images and

contained on his laptop and cell phones involved the use ofa minor engaging in sexually
                                                                                        explicit

                                                                                      that had
conduct and further knew that the images and videos had been produced using materials

been shipped or transported     in interstate or foreign commerce by any means, including           by


computer. A forensic examination ofthe defendant's laptop located the original cyber-tip image,

the Image, that had been reported to law enforcement. Forensics further showed that the
                                                                                  Internet on
defendant knowingly received the Image ofchild pomography on his laptop using the

May 16,2016.

V.        CON      USIO

          The United States respectfully submits that this summary of evidence provides a factual

basis for the guilty plea by the defendant to the three counts   ofchild pomography offenses   as


listed in the indictment. The govemment respectfully requests that the Court accept the

defendant's plea of guilty to the indictment.

                                                 Respectfu llY submitted,

                                                 LOUIS D. LAPPEN
                                                 United States Attomey

                                                 /s/ Er ic A. Boden
                                                 ERIC A. BODEN
                                                 Assistant United States Attomey



 Dated: January 23,2018



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                                 CERTIFICATE OF SERVICE

       I hereby certifu that on this date I caused   a true and   conect copy ofthe foregoing Change

of Plea Memorandum to be served by email to:


                                BENJAMIN BRAIT COOPER
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                                             /s/ Eric A. Boden
                                             ERIC A. BODEN
                                             Assistant United States Attomey




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